        Case 3:20-cr-00249-RS          Document 62       Filed 08/04/21      Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                           ZOOM CRIMINAL MINUTE ORDER

 Case No.: 20-cr-00249-RS-1 (JCS)  Case Name: USA v. Rowland Marcus Andrade
                                   (present, by Zoom. No custody)
 Chief Magistrate Judge: JOSEPH C. Date: August 4, 2021           Time: 14 M
 SPERO

Attorney for Plaintiff: Alexandra Shepard for Andrew Dawson
Attorney for Defendant: Warrington Parker, Kayvan Ghaffari - conditional CJA Appointment,
Sophia Whiting, AFPD
Interpreter: NA
US Pretrial Officer: Jessica Portillo
US Probation Officer: NA

 Deputy Clerk: Karen Hom                                  Digital Recording: Zoom Webinar Time:
                                                          11:06-11:20

                                   ZOOM PROCEEDINGS
p
1. I.D. Counsel - Held

                               ORDERED AFTER HEARING
Defendant consents to appearing by Zoom video conference.
Court conditionally appoints Mr. Warrington Parker as counsel.
When the case is concluded, the Court will hold a hearing to determine whether defendant will
be required to reimburse the Court for additional costs of the court-appointed legal representation
herein.

NOTES: The AUSA is invited to attend the 8/17/2021 ex parte hearing but will then be asked to
leave.

CASE CONTINUED TO: 08/17/2021at 10:30 AM for Ex Parte Status re: Examination of
Financial Affidavit. Zoom Webinar ID: 161 926 0804. Password: 050855.

Mr. Andrade shall appear on 8/31/2021 at 2:30 PM before Judge Seeborg for Status.

EXCLUSION OF TIME UNDER SPEEDY TRIAL ACT: 8/4/2021 to 8/17/2021.

cc: Corinne
